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EXHIBIT E

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,
Plaintiff,

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT E -— Deputy Sean Palamar Towing Discussion Footage

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit E, video footage of Deputy Sean Palamar

ordering the non-consensual tow of Plaintiffs truck and discussing it with a tow truck driver on
August 30, 2022, obtained via discovery in Case No. 22 CR 01231 1C (dismissed). Filed on USB
per LR IC 2-2 with a Notice of Manual Filing, this exhibit supports Plaintiff's claims and Rule

56 motion.

Key Evidence and Legal Violations

PLEADING TITLE - |

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| Cross-
> || Timestamp Incident Legal Relevance
Reference
3 .
4 Tow truck driver: Violates Fourth Amendment seizure (Soldal v.
5 “When the NTA Cook County, 506 U.S. 56, 1992); Fourteenth
6 |] 0:01:04— _ finds out about Amendment due process (Mathews v. Eldridge,
7 Exhibit D
0:01:10 this, he will 424 U.S. 319, 1976; Parratt v. Taylor, 45) U.S.
8
probably gethis 527, 1981); NRS 205.2715 (unlawful taking or
9
10 license revoked.” operation); tortious interference.
UW Demonstrates First Amendment retaliation
l2 Deputy Palamar: “Il (Fordyce v. Seattle, 55 F.3d 436, 9th Cir. 1995;
13
don’t know if our, Board of County Comm’rs v. Umbehr, 518 U.S.
14
0:01 :20—- my bosses are 668, 1996; Nieves v. Bartlett, 139 S. Ct. 1715,
'5 Exhibit C
16 || 0:01:25 going to have 2019); Fourteenth Amendment economic liberty
17 much appetite (Meyer v. Nebraska, 262 U.S. 390, 1923); Monell
18 keepinga guy.” iv. Dep't of Soc. Servs., 436 U.S. 658, 1978); NRS
19
197.200 (oppression); defamation/trade libel.
20
21
22
33 Legal Claims Supported
24
e First Amendment (42 U.S.C. § 1983): Retaliation for recording by targeting Plaintiff's
25
06 towing rotation status (Fordyce, Umbehr, Glik v. Cunniffe, 655 F.3d 78 (1st Cir. 2011);
97 Irizarry v. Yehia, 38 F Ath 1282 (10th Cir. 2022); Nieves; NRS 171.1233).
28
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| ¢ Fourth Amendment (42 U.S.C. § 1983): Unlawful seizure of truck without warrant or

exigency (Soldal).
¢ Fourteenth Amendment (42 U.S.C. § 1983): Procedural due process violation via tow
5 and threats without notice (Mathews, Parratt); substantive due process via economic
6 harm (Meyer, County of Sacramento v. Lewis, 523 U.S. 833, 1998).
7 ¢ Municipal Liability (42 U.S.C. § 1983): Sheriff's policy/custom of retaliation implied
8 by “my bosses” (0:01:20; Monell).
: e State Law Claims: Unlawful taking or operation (NRS 205.2715), oppression under
i color of law (NRS 197.200), intentional interference with prospective economic
12 advantage, defamation/trade libel (28 U.S.C. § 1367).
13
14
15
6 Summary Judgment Purpose (Fed. R. Civ. P. 56)
17
These undisputed facts—non-consensual tow (Exhibit D, 0:06:32.625), license revocation threat
(0:01:04), rotation termination threat (0:01:20)—-violate clearly established law (F: ordyce, Soldal
20 || Mathews). Linked to Plaintiff's recording (Exhibit C, 0:05:43-0:05:51), they demonstrate
21 || retaliatory intent and agency policy (Monell), establishing no genuine dispute of material fact
22 Hl and entitling Plaintiff to judgment as a matter of law.
23
24
25

26 || Qualified Immunity Defeat

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Deputy Palamar’s conduct contravenes clearly established rights under Pearson v. Callahan, 555

U.S. 223 (2009):

¢ Violation: Recording retaliation (Fordyce, Glik, Irizarry, Nieves, Umbehr), seizure
(Soldal), due process (Mathews, Parratt).
¢ Clearly Established: Rights were well-defined in 2022 (Fi ordyce 1995, Soldal 1992,

Umbehr 1996).

The tow (0:01:04) and threats (0:01:20) show objective unreasonableness (Kingsley v.
Hendrickson, 576 U.S. 389, 2015), not negligence. “Safety” or “need” defenses fail against
Soldal’s warrant requirement, Mathews’s notice mandate, and Nieves’s retaliation bar (Harlow v.

Fitzgerald, 457 U.S. 800, 1982).

Authentication

Per Fed. R. Evid. 901, 1, Drew J. Ribar, declare under penalty of perjury this footage accurately

depicts Deputy Sean Palamar’s tow arrangement and discussion on August 30, 2022.

Dated: March 27, 2025

/s/ Drew J. Ribar

Drew J. Ribar

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